            Case 8:23-ap-01046-SC Doc Filed 06/29/23 Entered 06/29/23 21:18:23                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 27, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 29, 2023:
Recip ID                  Recipient Name and Address
db                      + The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 29, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 27, 2023 at the address(es) listed below:
Name                               Email Address
Alan Craig Hochheiser
                                   on behalf of Creditor City Capital NY ahochheiser@mauricewutscher.com arodriguez@mauricewutscher.com

Alan I Nahmias
                                   on behalf of Interested Party Courtesy NEF anahmias@mbn.law jdale@mbnlawyers.com

Andrew Still
                                   on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Byron Z Moldo
                                   on behalf of Interested Party Byron Moldo bmoldo@ecjlaw.com amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Christopher Celentino
                                   on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                   on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com
           Case 8:23-ap-01046-SC Doc Filed 06/29/23 Entered 06/29/23 21:18:23                                                 Desc
                              Imaged Certificate of Notice Page 2 of 5
District/off: 0973-8                                       User: admin                                                         Page 2 of 3
Date Rcvd: Jun 27, 2023                                    Form ID: pdf042                                                    Total Noticed: 1
Christopher Ghio
                          on behalf of Plaintiff Richard A. Marshack christopher.ghio@dinsmore.com

Christopher Ghio
                          on behalf of Trustee Richard A Marshack (TR) christopher.ghio@dinsmore.com

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                          on behalf of Interested Party Courtesy NEF chris@slclawoffice.com
                          omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

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                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

D Edward Hays
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                          ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

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                          on behalf of Interested Party Eric Bensamochan eric@eblawfirm.us G63723@notify.cincompass.com

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                          jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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Ira David Kharasch
                          on behalf of Interested Party Ad Hoc Consumer Claimants Committee ikharasch@pszjlaw.com

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Laila Masud
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Leslie Skorheim
               Case 8:23-ap-01046-SC Doc Filed 06/29/23 Entered 06/29/23 21:18:23                                                  Desc
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Date Rcvd: Jun 27, 2023                                        Form ID: pdf042                                                     Total Noticed: 1
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Olivia Scott
                             on behalf of Creditor Hi Bar Capital LLC olivia.scott3@bclplaw.com

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Paul R Shankman
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                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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                             on behalf of Creditor MC DVI Fund 2 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

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                             raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Shawn M Christianson
                             on behalf of Interested Party Courtesy NEF cmcintire@buchalter.com schristianson@buchalter.com

Teri T Pham
                             on behalf of Attorney Teri Pham tpham@enensteinlaw.com 3135.002@enensteinlaw.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Victoria Newmark
                             on behalf of Interested Party Courtesy NEF vnewmark@pszjlaw.com


TOTAL: 52
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 1 ehays@marshackhays.com
   LAILA MASUD, #311731
 2 lmasud@marshackhays.com                                              FILED & ENTERED
   MARSHACK HAYS LLP
 3 870 Roosevelt
   Irvine, California 92620                                                  JUN 27 2023
 4 Telephone: (949) 333-7777
   Facsimile: (949) 333-7778                                            CLERK U.S. BANKRUPTCY COURT
 5                                                                      Central District of California
                                                                        BY bolte      DEPUTY CLERK
   Attorneys for Chapter 11 Trustee
 6 RICHARD A. MARSHACK
 7
                                 UNITED STATES BANKRUPTCY COURT
 8
                      CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
 9

10
     In re                                                 Case No: 8-23-bk-10571-SC
11
                                                           Chapter 11
12 THE LITIGATION PRACTICE GROUP P.C.,
                                                           ORDER APPROVING STIPULATION FOR
13                                                         DISMISSAL OF EMERGENCY MOTION
                      Debtor.                              FOR ORDER AUTHORIZING THE
14
                                                           CHAPTER 11 TRUSTEE TO ENTER INTO
15                                                         AN EXPENSE REIMBURSEMENT
                                                           AGREEMENT WITH THE AD HOC
16                                                         COMMITTEE
17                                                         [MOTION ± DK. NO. 102]
18                                                         Hearing:
                                                           Date:    June 28, 2023
19                                                         Time:    11:00 A.M.
                                                           Ctrm:    5C1
20

21            The Court has read and considered the stipulation ³6WLSXODWLRQ´ entered into by and

22 between 5LFKDUG$0DUVKDFNLQKLVFDSDFLW\DV&KDSWHU7UXVWHH ³7UXVWHH´ RIWKH%DQNUXSWF\

23 (VWDWH ³(VWDWH´ RI7KH/LWLJDWLRQ3UDFWLFH*URXS3& ³'HEWRU´ , the Office of the United States

24 TruVWHH ³867´ , and creditor Carolyn Beech in her capacity as lead plaintiff of a class action

25 lawsuit pending in Mississippi, filed on June 26, 2023, as Dk. No. 149, and has found good case to

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   1
     ZoomGov: Video and audio connection information for each hearing will be provided on Judge
27 Clarkson's publicly posted hearing calendar, which may be viewed online at: http://ecf-
   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC, anGWKHQVHOHFWLQJ³-XGJH&ODUNVRQ´IURPWKHWDERQWKH
28
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                                                       1

     4887-5831-6646
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 1 approve the Stipulation.
 2       IT IS ORDERED:
 3            1.       Stipulation is approved in its entirety;
 4            2.       The Motion is dismissed under FRCP 41(a)(1)(A)(ii) and LBR 9013-1(k); and
 5            3.       The hearing on the Motion scheduled for June 28, 2023, at 11:00 a.m., is off calendar
 6 without the need for appearances.
 7                                                        ###
     4870-4728-5100, v. 1
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       Date: June 27, 2023
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                                                            2

     4887-5831-6646
